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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

CORETEK LICENSING LLC,

                    Plaintiff,                   Civil Action No.: 1:20-cv-01015-MN

     v.

HIGHFIVE TECHNOLOGIES, INC.,                     TRIAL BY JURY DEMANDED

                    Defendant.


              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Now comes Plaintiff Coretek Licensing LLC, by and through its counsel, and pursuant to

Fed. R. Civ. P. 41 (a)(1), hereby voluntarily dismisses all of the claims asserted against

Defendant Highfive Technologies, Inc. in the within action, WITH PREJUDICE. Highfive

Technologies, Inc. has not served an answer or a motion for summary judgment.

Dated: August 23, 2020                      Respectfully submitted,

Of counsel:                                 CHONG LAW FIRM PA

Andrew S. Curfman (Pro hac vice)            /s/ Jimmy Chong
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